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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE

                                                  MDL No. 2875
      IN RE: VALSARTAN, LOSARTAN,
      AND IRBESARTAN PRODUCTS                     Honorable Renée Marie Bumb
      LIABILITY LITIGATION                        Chief District Court Judge


      This Document Relates to the TPP Trial
      Claims


          TPP TRIAL DEFENDANTS’MEMORANDUMIN SUPPORT OF
                  MOTION FOR SUMMARY JUDGMENT1




  1
          This Motion for Summary Judgment concerns the claims designated in Case
  Management Order No. 32 (the “TPP Trial Claims”), specifically, the claims of
  Plaintiff MSP Recovery Claims, Series LLC, as class representative of TPP Breach
  of Express Warranty subclass b, TPP Fraud subclass c, and TPP State Consumer
  Protection Laws subclass a (collectively, the “TPP Classes”), against the TPP Trial
  Defendants. (ECF 2343 at 1-2.) Defendants were previously granted summary
  judgment on the claims asserted by Implied Warranty subclass d. (ECF 2695 at 5.)
  In filing this motion, Defendants do not waive any arguments in favor of summary
  judgment with respect to any other claims asserted by any Plaintiff as to any
  Defendant(s) in this multidistrict litigation.
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                                   INTRODUCTION

        The Third-Party Payor Plaintiffs (“Plaintiffs”) have alleged throughout this

  litigation that they are entitled to a full refund of the amounts they paid for life-

  saving valsartan-containing drugs that contained            N-Nitrosodimethylamine

  (“NDMA”) and/or N-Nitrosodiethylamine (“NDEA”) (the “VCDs”), because the

  medications were entirely “worthless.” “[I]t is one thing to allege damages,”

  however, “and it is another thing to prove damages.” In re Valsartan, Losartan, &

  Irbesartan Prods. Liab. Litig., MDL No. 2875, 2025 WL 1024048, at *6 (D.N.J.

  Apr. 7, 2025). In an effort to prove their theory, Plaintiffs designated Dr. Rena Conti

  as an expert witness to testify that the VCDs had no value. Because the Court

  excluded Dr. Conti’s “worthlessness” opinion as “unreliable,” id. at *19-20,

  Plaintiffs do not have admissible expert testimony capable of proving their claims.

        Defendants are entitled to summary judgment for multiple reasons.

        First, the exclusion of Dr. Conti’s “worthlessness” opinion leaves Plaintiffs

  without evidence capable of proving that the VCDs had no value. This Court has

  ruled that establishing “worthlessness” at trial requires expert evidence that the

  “VCDs were so fundamentally flawed so as to be rendered valueless.” In re

  Valsartan, 2025 WL 1024048, at *17. Plaintiffs’ own counsel have unequivocally

  conceded that Plaintiffs lack such evidence because their remaining experts “don’t

  address value of the pills” and “are not going to say [the VCDs contain] a



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  fundamental defect.” (Apr. 28, 2025 Hr’g Tr. (“April CMC Tr.”) 28:18, 31:5-6, ECF

  3039.) Plaintiffs’ counsel have also acknowledged that their general causation

  experts cannot quantify any loss of value to the VCDs based on the relevant

  epidemiologic studies, which have: (1) found no increased risk of cancer generally

  for patients exposed to the VCDs; and (2) at most, inconsistently reported slightly

  increased risks for a few specific cancers. This is not a curable evidentiary gap.

  Courts routinely grant summary judgment where plaintiffs lack expert testimony to

  establish product worthlessness or diminished value in complex pharmaceutical

  cases. See, e.g., In re Rezulin Prods. Liab. Litig., 210 F.R.D. 61, 68-69 (S.D.N.Y.

  2002) (rejecting worthlessness theory absent expert support); In re Zantac

  (Ranitidine) Prods. Liab. Litig., MDL No. 2924, 2023 WL 4765409, at *8 (S.D. Fla.

  July 26, 2023) (same).

        Second, Plaintiffs cannot salvage their claims by redefining their theory of

  damages at this late stage of the proceedings. Although Plaintiffs initially (and

  alternatively) pled that the VCDs were “worth less” than what Plaintiffs paid for

  them, Judge Kugler dismissed this theory of liability because Plaintiffs “fail[ed] to

  allege facts which would permit a factfinder to value the purported injury with[out]

  resorting to mere conjecture.” (MTD Op. 2 at 11, ECF 728.) Plaintiffs never moved




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  to amend their complaint to reassert that dismissed theory;2 instead, they doubled

  down on their “worthlessness” theory to facilitate class certification because it

  avoided “individualized issues regarding the value [of the VCDs] to each Class

  Member[.]” (See Pls.’ Consumer Economic Loss Class Cert. Br. at 79, ECF 1748.)

        In any event, even if Plaintiffs had not abandoned a “worth less” theory, they

  lack any expert evidence capable of proving damages under that theory, which is

  why they recently requested permission to reopen discovery and designate new

  experts. The Court made clear that it “definitely” will not entertain Plaintiffs’

  dilatory request given the advanced stage of these proceedings (April CMC Tr.

  46:23-47:23), and there is no legitimate basis to reconsider that decision, as set forth

  in the TPP Trial Defendants’ Opposition to Plaintiffs’ Motion for Leave to Reopen

  Expert Record (“TPP Defs.’ Reopening Opp’n”) (ECF 3080), which is currently

  pending before the Court.

        Third, Plaintiffs’ claims are preempted under Buckman Co. v. Plaintiffs’

  Legal Committee, which holds that “[s]tate-law fraud-on-the-FDA claims inevitably

  conflict with the FDA’s responsibility to police fraud consistently with the




  2
        It was not until Plaintiffs’ November 12, 2024, letter to the Court that they
  asked this Court in a footnote to allow them to amend their complaint “to more
  explicitly add a worth less theory[.]” (ECF 2921 at 23 n.19.) The Court’s April 7,
  2025 Opinion addressed Plaintiffs’ request, ruling amendment was not needed. (ECF
  3018 at 48.)

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  Administration’s judgment and objectives.” 531 U.S. 341, 350 (2001). Although

  Judge Kugler rejected this argument at the pleading stage based on inapposite

  precedent, the evidence that Plaintiffs have since developed to support their claims

  (e.g., that Defendants allegedly withheld information about VCDs from the FDA)

  confirms that they are attempting to proceed with an impermissible fraud-on-the-

  FDA theory that is preempted by federal law.

        For all of these reasons, discussed in greater detail below, the Court should

  grant Defendants summary judgment on all of Plaintiffs’ claims.

                                    BACKGROUND

        Defendants voluntarily recalled various finished-dose VCDs beginning in

  July 2018, after identifying trace amounts of NDMA or NDEA. (See Defs.’ Omnibus

  Statement of Material Facts Not in Dispute (“Orig. SUMF”) ¶¶ 77-78, ECF 2571.)3

  There is no evidence that any of the VCDs failed to provide effective blood pressure

  treatment to the patients who purchased and used them. (Id. ¶ 80.) The FDA stated

  after the recall that “[t]he risk associated with abruptly discontinuing the use of these

  important medicines far outweighs the low risk that our scientists estimate to be

  associated with continuing the medicine[.]” (Id. ¶ 82.) Specifically, the FDA

  estimated that, “if 8,000 people took the highest valsartan dose (320 mg) from


  3
         The TPP Trial Defendants incorporate herein the original statement of
  undisputed material facts supporting their motion for summary judgment filed last
  year, as well as a supplemental statement of undisputed material facts.

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  NDMA-affected medicines daily for four years (the amount of time we believed the

  affected products had been on the U.S. market), there may be one additional case of

  cancer over the lifetimes of these 8,000 people beyond the average cancer rate

  among Americans,” and that “[m]ost patients who were exposed to the impurity

  through the use of valsartan received less exposure than this worst-case scenario.”

  (Id. ¶ 78.) Thus, the FDA recommended that patients “should continue taking their

  medicine until they have a replacement product.” (Id. ¶ 81.)

        No epidemiologic study has found that exposure to VCDs containing NDEA

  is associated with an increased risk of cancer. (Supp. Statement of Material Facts

  Not in Dispute (“Supp. SUMF”) ¶ 4.) Only three epidemiologic studies have

  assessed whether there is an association between the use of VCDs containing NDMA

  and an increased risk of cancer, and none of those studies identified an overall

  increased risk. The first study, Pottegard 2018, found that “[o]verall, exposure to

  potentially (probably or possibly) NDMA contaminated valsartan products showed

  no association with cancer compared with exposure to valsartan products” that did

  not contain NDMA, with “no evidence of a dose-response relation,” further

  weighing against any causal link. (Id. ¶ 6 (emphases added).) Although the study

  noted that “increased risks were seen for colorectal cancer . . . and for uterine

  cancer,” “neither these nor other single cancer outcomes reached statistical

  significance[.]” (Id.) The second study, Gomm 2021, similarly found no association


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  with cancer overall and only a small association for liver cancer. (Id. ¶ 7.) The study

  authors observed a lack of a dose-response, including for liver cancer, and

  emphasized that “[c]ausality cannot be inferred.” (Id. (emphasis added).) The third

  and last study, Mansouri 2022, reported “no increased risk of overall cancer among

  exposed patients” and only “found a slightly increased risk” for liver cancer and

  melanoma, which the study authors noted may be explained by confounding factors.

  (Id. ¶ 8.) The study authors further concluded that they “found no evidence of a dose-

  response relationship[.]” (Id.)

        Despite the extremely low risk (if any) of cancer and the undisputed efficacy

  of the VCDs in treating hypertension, Plaintiffs have alleged from the inception of

  this litigation that the contamination rendered the VCDs “worthless.” Although the

  Second Amended Complaint (“SAC”) also asserted that the VCDs had “significantly

  diminished . . . value” (SAC ¶¶ 454, 465, 474, ECF 398), Plaintiffs’ opposition to

  Defendants’ motion to dismiss (filed in September 2020) made clear that Plaintiffs

  were proceeding solely on the theory that the TPPs “were economically injured by

  paying for a worthless drug,” and offered no plausible facts to measure the VCDs’

  “diminished” value (ECF 577 at 24). Judge Kugler dismissed any claims based on a

  theory that VCDs had diminished value on the ground that Plaintiffs had “fail[ed] to

  allege facts which would permit a factfinder to value the purported injury with[out]

  resorting to mere conjecture.” (MTD Op. 2 at 11, ECF 728.)


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        At class certification, Plaintiffs continued to assert that their sole theory of

  injury rested on “Dr. Conti’s damages” theory, arguing that their “worthlessness”

  theory supported class certification because the value was $0 for all class members,

  rendering any “individualized issues regarding the value to each Class Member of

  the VCDs” moot. (ECF 1748 at 79.) Judge Kugler accepted Plaintiffs’ proposition,

  certifying a TPP class based on the core allegation that the “VCDs were worthless”

  and on Plaintiffs’ demand for “the full cost of their payments for their insureds’

  VCDs over the relevant period.” (ECF 2261 at 36.) And when Defendants moved

  for summary judgment in 2024, Plaintiff MSP Recovery Claims (the named plaintiff

  for the TPP class trial) once again confirmed that its only theory of damages was the

  one advanced by Dr. Conti: namely, that the VCDs were “‘worthless’” (ECF 2569-

  1 at 33 (arguing that “[Judge Kugler] has already determined . . . that the VCDs are

  ‘economically worthless’”) (citing ECF 775 at 20)).4

        Defendants moved to exclude Dr. Conti’s opinions in advance of the

  previously scheduled TPP class trial. Briefing on that motion was completed on

  March 6, 2024, but Judge Kugler did not rule on the motion prior to his retirement

  and the subsequent reassignment of the MDL proceeding to this Court. On



  4
        Judge Kugler subsequently rejected all claims asserted by Implied Warranty
  subclass d, as well as consumer-protection claims asserted under Missouri law, but
  allowed Plaintiffs to proceed with the remaining claims set for a TPP class trial. (See
  ECF 2695.)

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  September 9, 2024, this Court heard argument on the admissibility of Dr. Conti’s

  opinions, and on April 7, 2025, the Court ruled that it “will not permit Conti to testify

  that the VCDs are worthless.” In re Valsartan, 2025 WL 1024048, at *19. The Court

  subsequently granted Defendants’ request to move for summary judgment on the

  TPP class claims. (April CMC Tr. 18:20-19:1.)

                                      ARGUMENT

        A defendant is entitled to summary judgment when a plaintiff “fails to make

  a showing sufficient to establish the existence of an element essential to that party’s

  case, and on which that party will bear the burden of proof at trial.” Celotex Corp.

  v. Catrett, 477 U.S. 317, 322 (1986). “[A] mere ‘scintilla of evidence’ in the

  nonmovant’s favor does not create a genuine issue of fact[.]” Ramara, Inc. v.

  Westfield Ins. Co., 814 F.3d 660, 666 (3d Cir. 2016). Rather, the plaintiff “must

  introduce evidence from which a rational finder of fact could find in [his or her]

  favor.” Colburn v. Upper Darby Twp., 946 F.2d 1017, 1020 (3d Cir. 1991).

        Defendants are entitled to summary judgment because: (1) Plaintiffs cannot

  prove injury or damages; and (2) Plaintiffs’ claims are separately preempted.




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  I.    PLAINTIFFS CANNOT PROVE INJURY OR DAMAGES.

        A.     Plaintiffs Cannot Establish Injury Or Damages On The Theory
               That The VCDs Were “Worthless.”

        The TPP Trial classes assert three categories of claims: (1) breach of express

  warranty; (2) common law fraud; and (3) state consumer protection.5 See In re

  Valsartan, 2025 WL 1024048, at *1-2. This Court has already determined that “the

  correct measure of damages for the breach of express warranty claim is the

  difference in value between what was bargained for and what was received, known

  as the benefit of the bargain theory.” Id. at *4 (citation omitted). To prove damages

  under that standard, Plaintiffs must establish either that:

        (1) there was such a fundamental defect in the VCDs that so outweighed their

        undisputed lifesaving benefits that the drugs were “worthless”; or

        (2) the risk posed by the defect diminished the value of the medications such

        that they were “worth less.”



  5
          Judge Kugler ruled that Plaintiffs’ claims are governed by “the law[s] of
  [their] home state[s]”—i.e., where each TPP is located. (ECF 818 at 10.) Yet, each
  of the TPP subclass definitions is limited to specific states in which TPP subclass
  members “paid any amount of money” for VCDs, which may or may not be their
  home states. (ECF 2532-6.) This disconnect between the states whose laws govern
  (i.e., each TPP’s home state) and the states encompassed by the subclass definitions
  (i.e., the state where each TPP paid for valsartan) makes it impossible to discern
  what law governs each unnamed subclass member’s claims. For present purposes,
  however, this motion assumes—without conceding—that the claims at issue are
  governed by the 42 jurisdictions identified across the three subclasses selected for
  trial.

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  Id. (See also April CMC Tr. 18:20-19:1.) That same framework applies to Plaintiffs’

  common law fraud claims and state consumer protection claims.

        Common Law Fraud. Of the 23 jurisdictions at issue, 20 have expressly

  adopted either a benefit-of-the-bargain theory or an “out of pocket” measure of

  damages.6 As discussed above, the Court has already determined that a benefit-of-

  the-bargain theory requires TPP Plaintiffs to prove that the VCDs were “worthless”

  or “worth less.” In re Valsartan, 2025 WL 1024048, at *8. The same is true for an

  “out-of-pocket” theory, which measures “the difference between the price paid for

  the [product] and the [product’s] actual value when received.” See, e.g., Wallis v.

  Ford Motor Co., 208 S.W.3d 153, 155 (Ark. 2005); Walston v. Monumental Life Ins.

  Co., 923 P.2d 456, 462 (Idaho 1996) (similar). Thus, “[e]ither measure of damages

  requires a plaintiff to prove the actual value of the [good] at the time of purchase,”

  Kind v. Gittman, 889 So. 2d 87, 90 (Fla. Dist. Ct. App. 2004), as Plaintiffs

  themselves have essentially recognized (see MSP Summ. J. Opp’n Br. at 39, ECF

  2606 (stating in prior summary judgment opposition that “the general approach is

  the same under either” a benefit-of-the-bargain or out-of-pocket theory)).



  6
         Benefit-of-the-bargain jurisdictions include Colorado, Massachusetts, North
  Carolina, North Dakota, Ohio, Oklahoma, Rhode Island, South Dakota, Vermont,
  and Washington. (See Ex. A to Ltr. from C. Trischler, ECF 3035-1.) Out-of-pocket
  jurisdictions include New York, Virginia, and Puerto Rico. (Id.) Jurisdictions that
  use both benefit-of-the-bargain and out-of-pocket approaches include Alaska,
  Arkansas, Florida, Idaho, Iowa, Minnesota, and Wyoming. (Id.)

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        As to the remaining three jurisdictions (New Jersey, the District of Columbia,

  and Louisiana), New Jersey uses either a benefit-of-the-bargain or out-of-pocket

  approach, “subordinate[] to the basic objective of making the injured party whole.”

  See Correa v. Maggiore, 482 A.2d 192, 198 (N.J. Super. Ct. App. Div. 1984). Under

  this standard, Plaintiffs must still prove the actual value of the VCDs. New Jersey

  “mak[es] the injured party whole” by measuring damages as the “diminution in value

  caused by defendants’ deceit[.]” Id. The District of Columbia and Louisiana have

  not expressly formulated a measure of damages for fraud, but courts in both

  jurisdictions have similarly looked to the actual value of the product. See Railan v.

  Katyal, 766 A.2d 998, 1006 n.7 (D.C. 2001) (measure of damages includes “the

  difference between the value of the property and the price paid for it”); Gagliano v.

  Namias, 479 So. 2d 23, 25 (La. Ct. App. 1985) (similar).7



  7
         Plaintiffs have at times suggested that a separate measure of damages may
  apply to fraud claims, analogizing this case to the sale of “snake oil” as medicine.
  Even if such a standard ever applied to fraud claims, it would plainly not apply to
  “the facts of this case” because, as this Court made clear, “these drugs were, in fact,
  sold and did, in fact, provide a therapeutic value”—i.e., they were not “snake oil.”
  See In re Valsartan, 2025 WL 1024048, at *15 n.24 (“Conti ignores the facts of this
  case, that is, that these drugs were, in fact, sold and did, in fact, provide a therapeutic
  value.”). Moreover, Plaintiffs lack evidence that ZHP engaged in any knowing or
  intentional misrepresentations, as required under the applicable states’ fraud laws.
  (See ZHP Mot. for Summ. J. at 1, 7-10, ECF 2564-1.) And as to Defendants Teva
  and Torrent, there is no evidence indicating that either had knowledge of the
  existence of an impurity in the active pharmaceutical ingredient for its VCDs. (See
  Teva’s Mot. for Summ. J. at 6-8, ECF 2565-1; Torrent’s Mot. for Summ. J. at 3-7,
  ECF 2750-1.)

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        State Consumer Protection Laws. All 16 jurisdictions at issue require

  Plaintiffs to prove an “ascertainable loss” or “actual damages.” See, e.g., Conn. Gen.

  Stat. § 42-110g(a) (“Any person who suffers any ascertainable loss . . . may bring

  an action . . . to recover actual damages.”). (See also Ex. B to Ltr. from C. Trischler,

  ECF 3035-2.) Thus, Plaintiffs must present evidence that “the seller’s

  misrepresentations rendered the product essentially worthless” (or that the product

  was worth less than paid). See In re Cheerios Mktg. & Sales Pracs. Litig., MDL No.

  2094, 2012 WL 3952069, at *11 (D.N.J. Sept. 10, 2012). Consistent with this

  requirement, courts in at least five of the relevant jurisdictions (Alaska, California,

  Florida, Louisiana, and Pennsylvania) expressly consider the actual value received

  or benefits conferred. See, e.g., Borgen v. A & M Motors, Inc., 273 P.3d 575, 592

  (Alaska 2012); In re Vioxx Class Cases, 180 Cal. App. 4th 116, 131 (2009); Rollins,

  Inc. v. Heller, 454 So. 2d 580, 585 (Fla. Dist. Ct. App. 1984); Harris v. Poche, 930

  So. 2d 165, 172 (La. Ct. App. 2006); Stokes v. Gary Barbera Enters., 783 A.2d 296,

  299 (Pa. Super. Ct. 2001).8


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         The fact that some consumer protection statutes prescribe statutory damages
  does not relieve Plaintiffs of their burden to demonstrate an ascertainable loss or
  actual damages as an element of their underlying claim before the factfinder can
  consider the appropriate measure of damages. And even as a measure of damages,
  the statutes typically require a comparison of the actual value to statutory damages.
  See, e.g., Alaska Stat. § 45.50.531(a) (“A person who suffers an ascertainable loss
  of money or property . . . may bring a civil action to recover for each unlawful act
  or practice three times the actual damages or $500, whichever is greater.”)
  (emphases added). Recovery under these statutes thus requires both ascertainability

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         In short, Plaintiffs’ claims for breach of express warranty, common law fraud,

  and violation of state consumer protection laws all require evidence that the VCDs

  were either “worthless” or “worth less” than what the TPPs paid or bargained for.

  Because Plaintiffs have no such evidence, as discussed below, Defendants are

  entitled to summary judgment. See Willoughby v. Abbott Labs., No. 22 C 1322, 2025

  WL 622925, at *7 (N.D. Ill. Feb. 26, 2025) (“Without evidence of overpayment . . .

  the plaintiffs cannot prove the damages required for their consumer protection [and]

  fraud . . . claims.”).

         This Court has already rejected Plaintiffs’ theory that the VCDs were

  “worthless” and that Plaintiffs are thus entitled to a full refund. (See April CMC Tr.

  18:10-19 (“The plaintiffs keep wanting to sneak back in that they are worthless—

  one word. And there is just simply no evidence for that. . . . I thought my Opinion

  was clear that that’s out of the case.”).) In its order excluding Dr. Conti’s damages

  opinions, the Court made clear that Plaintiffs may only prove a “worthlessness”

  theory through competent expert testimony that the purported defect in the VCDs

  was so “fundamental that the product [was] rendered valueless.” In re Valsartan,

  2025 WL 1024048, at *8. All other avenues of establishing “worthlessness” are

  foreclosed by the record. Id.



  of the asserted injury and proof of the “actual damages” allegedly sustained, which
  necessarily entails consideration of the value of the VCDs to each TPP.

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         As the Court recognized, “Plaintiffs’ only evidence to support worthlessness

  . . . is Conti’s [now-excluded] testimony.” Id. at *17. Plaintiffs’ counsel subsequently

  admitted at the April Case Management Conference that their remaining experts

  “don’t address value of the pills” and that those experts “are not going to say it’s a

  fundamental defect.” (April CMC Tr. 28:18, 31:5-6; id. 29:25-30:2 (emphasis

  added).) Plaintiffs’ admission is dispositive. See In re Valsartan, 2025 WL 1024048,

  at *17 (“Plaintiffs cannot simply assert a fundamental flaw; they must prove it.”).

  (See also April CMC Tr. 31:1-3 (“There’s got to be—either the testimony is going

  to be that . . . it was such a fundamental defect or—I don’t know how that’s going

  to be helpful to a jury.”).)

         To the extent Plaintiffs’ remaining experts testify about the alleged risk of

  VCDs based on epidemiologic studies, Plaintiffs have conceded that their opinions

  will not and cannot address or quantify any diminished value of the pills. (April

  CMC Tr. 28:18, 31:5-6; see also § I.B.2 infra (citing admissions by Plaintiffs’

  counsel that they lack evidence of an “economic translation” of general causation

  opinions into value opinions based on benefits and risks).) Further, the

  epidemiologic studies do not remotely purport to establish “worthlessness.” None of

  Plaintiffs’ experts can point to any epidemiologic evidence that the use of VCDs

  containing NDEA is associated with an increased risk of any cancer. And as noted

  above, although three studies have assessed whether the use of VCDs containing


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  NDMA is associated with cancer, none found a statistically significant increase in

  risk for cancers overall. (See Supp. SUMF ¶¶ 5-8.)

        The record evidence further reflects that the presence of NDMA or NDEA in

  VCDs indisputably did not render the medications worthless.9 Most notably, the

  FDA stated at the time of the recall in 2018: “Because valsartan is used in medicines

  to treat serious medical conditions, patients taking the recalled valsartan-

  containing medicines should continue taking their medicine until they have a

  replacement product.” (Orig. SUMF ¶ 81 (emphasis added).) The FDA’s own risk

  assessment is dispositive: “The risk associated with abruptly discontinuing the use

  of these important medicines far outweighs the low risk that our scientists estimate

  to be associated with continuing the medicine[.]” (Id. ¶ 82.) The FDA estimated that,

  “if 8,000 people took the highest valsartan dose (320 mg) from NDMA-affected

  medicines daily for four years (the amount of time we believed the affected products

  had been on the U.S. market), there may be one additional case of cancer over the

  lifetimes of these 8,000 people beyond the average cancer rate among Americans

  . . . .” (Id. ¶ 78.) Plaintiffs cannot establish that the VCDs were fundamentally



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         Defendants’ experts Michael Bottorff and Dr. John Flack explained that the
  presence of NDMA impurities did not impact the efficacy of the VCDs. (Orig.
  SUMF ¶ 125.) Plaintiffs did not produce any expert to rebut their effectiveness
  opinions. (Id. ¶ 79.) To the contrary, Plaintiffs’ expert Dr. Rena Conti admitted that
  she could not identify any scientific evidence indicating that the VCDs were
  ineffective in treating hypertension. (Id.)

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  defective (and worthless) when the FDA advised patients to continue taking them

  even after the recall because of their important benefits and extremely low risk. (Id.

  ¶ 81.) See In re Rezulin, 210 F.R.D. at 68-69 (holding that plaintiffs’ worthlessness

  theory was “not a defensible position” because “[e]ven plaintiffs’ experts

  acknowledge that [the product] was enormously beneficial to many patients”); In re

  Zantac, 2023 WL 4765409, at *8 (“Plaintiffs lack any basis . . . to advance the

  proposition that ranitidine is worthless, with a value of zero, even though it

  performed as advertised[.]”).

        As the Court has already recognized, “there is just simply no evidence” in the

  record to support Plaintiffs’ theory that the VCDs were worthless. (April CMC Tr.

  18:10-16; see id. (“I’m not going to permit any expert to say ‘this is full

  damages.’”).) Rather, Plaintiffs’ “worthlessness” theory is “out of the case . . .

  because everyone agrees that these drugs had a value.” (Id.)

        B.     Plaintiffs Cannot Establish Injury Or Damages On The Theory
               That The VCDs Were “Worth Less.”

        Plaintiffs also cannot proceed to, or prevail at, trial on an alternative theory

  that the VCDs were “worth less” than what Plaintiffs paid for them. As this Court

  has recognized and as Plaintiffs themselves have admitted in seeking to re-open

  expert discovery, such a “worth less” theory requires Plaintiffs to establish the

  economic value of the VCDs considering the alleged risk and then calculate the

  difference between that value and the price the Plaintiffs paid for the VCDs. (See


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  April CMC Tr. 41:10-13, 43:7-9; see also Pls.’ Mot. for Leave to Reopen Expert

  Record at 2, ECF 3053.) Such a theory is not viable because: (1) those claims were

  rejected by Judge Kugler on the pleadings and abandoned by Plaintiffs to pursue

  class certification; and (2) Plaintiffs lack evidence that would allow the jury to value

  the VCDs, and thus to find that the VCDs were worth less than what Plaintiffs paid

  (or bargained) for them.

               1.     Plaintiffs Have Abandoned The “Worth Less” Theory.

        At the pleading stage of this case, Plaintiffs attempted to allege injury-in-fact

  and damages by asserting, among other theories, that the value of the VCDs was

  significantly diminished:

        As a direct and proximate result of each TPP Claim Defendant’s [course
        of action], Plaintiffs and other Class Members have been injured and
        suffered damages, in that TPP Claim Defendants’ VCDs they
        purchased were so inherently flawed, unfit, or unmerchantable as to
        have significantly diminished or no intrinsic market value.

  (SAC ¶¶ 454, 465, 474 (emphasis added); see also Consolidated Am. Economic Loss

  Class Action Compl. (“FAC”) ¶¶ 445, 456, 465, ECF 121.) Plaintiffs also alleged

  elsewhere in their pleadings that, “[a]t a minimum, adulterated, misbranded, and/or

  unapproved VCDs were worth less than their non-contaminated equivalents.” (SAC

  ¶ 371; FAC ¶ 362 (emphasis added).)

        Plaintiffs quickly abandoned their “worth less” theory in their opposition to

  Defendants’ motion to dismiss, insisting that they were harmed solely because



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  “VCDs are worthless to Plaintiffs,” while citing no factual allegations plausibly

  supporting their “diminished value” theory. (See, e.g., ECF 577 at 26.) Accordingly,

  Judge Kugler held that the “worth less” theory was insufficiently pled.

        The second theory of economic loss, the receipt of a less valuable
        product, would have sufficed to establish an injury‐in‐fact if Plaintiffs
        had provided a theory for the factfinder to value it, but they do not.
        Instead, they would have the factfinder resort to mere conjecture to
        value their purported injury. This second theory is insufficient to confer
        standing.

  (MTD Op. 2 at 13, ECF 728.) In other words, Judge Kugler identified the exact same

  problem with Plaintiffs’ “worth less” theory that this Court recently elucidated:

  Plaintiffs have not identified a basis for the jury to value the VCDs. (See April CMC

  Tr. 41:6-9 (“So to have experts testify, well, there’s a risk of cancer . . . and the jury

  is just supposed to just say just—what? I mean, make up a number . . . ? No.”); see

  also MTD Op. 2 at 13, ECF 728 (Judge Kugler explaining that, for a “worth less”

  theory to be viable, Plaintiffs must provide a basis “for the factfinder to value [the

  VCDs]”).)

        Plaintiffs cannot now switch horses and proceed on a “worth less” theory for

  at least two reasons.

        First, Plaintiffs never timely moved to re-introduce their “worth less” theory,

  much less attempted to remedy the core deficiency identified by Judge Kugler.

  Plaintiffs had the opportunity to do so when they filed a Third Amended Complaint,

  which added 89 pages of new allegations to address Judge Kugler’s various motion-

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  to-dismiss rulings, including additional allegations about “worthlessness.” (See

  generally Third Am. Compl. (“TAC”), ECF 1708.) Yet, the TAC did not include a

  single new allegation to fortify the “diminished value” theory. Accordingly, they

  cannot pursue it now. See Krys v. Aaron, 312 F.R.D. 373, 377 (D.N.J. 2015)

  (“[f]ailure to raise any claims, issues, defenses, or theories of damages . . . generally

  results in waiver”) (citation omitted); see also In re Zantac, 2023 WL 4765409, at

  *8 (holding that the “[p]laintiffs abandoned the contention that ranitidine is worth

  less” where plaintiffs had previously “represented to the Court that” the medication

  did not “have a value greater than zero” and insisted that “[w]e are talking about a

  drug that was recalled because it causes cancer” and is therefore “worthless”).

        Second, Plaintiffs cannot pursue a “worth less” theory at this late stage

  because their entire argument in support of class certification was based on the now-

  rejected “worthless” theory of injury. Plaintiffs affirmatively argued at class

  certification that they could prove the value of the VCDs on a class-wide basis by

  establishing that the VCDs should never have been sold and thus had zero value to

  each and every class member. (See Pls.’ Class Certification Reply Br. at 17, ECF

  2057 (relying on Dr. Conti’s testimony to argue that “the purported ‘therapeutic

  value’ received by each class member is irrelevant because all class members . . .

  purchased an economically worthless drug”). Plaintiffs never proposed a means to

  prove on a class-wide basis that the VCDs were “worth less” or to measure the


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  diminished value of VCDs—intentionally so because such individualized inquiries

  are fundamentally incompatible with classwide litigation. If Plaintiffs were to

  proceed now with a different theory that VCDs were “worth less” to patients than

  what Plaintiffs paid for them, class certification would need to be re-briefed and

  argued so that the Court could determine—for the first time—whether such a theory

  could be proven on a class-wide basis using common evidence. See, e.g., Lanteri v.

  Credit Prot. Ass’n, L.P., No. 1:13-CV-01501-JMS-MJD, 2020 WL 3200076, at *3

  (S.D. Ind. June 15, 2020) (rejecting plaintiffs’ attempt to change their theory of

  liability after class certification; “the Class is not permitted to proceed on any

  alternative theory of liability other than the one for which the Class was certified”).

        Reassessing class certification would be essential here given that the Third

  Circuit and other courts have frequently rejected certification of claims based on a

  theory that a product was “worth less.” As these courts have recognized, such

  theories cannot satisfy Rule 23’s predominance requirement because they require

  individualized inquiries regarding the actual value of the product to each purchaser

  in light of his or her particular circumstances. See, e.g., Maio v. Aetna, Inc., 221 F.3d

  472, 493 (3d Cir. 2000) (plaintiffs “obviously cannot show that they actually

  received something ‘inferior’ and ‘worth less’ absent individualized allegations”);

  Alvarez v. NBTY, Inc., 331 F.R.D. 416, 426 (S.D. Cal. 2019) (denying class

  certification because “under Plaintiff’s theory, some people benefitted from the


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  Products,” and thus, “damages are not subject to common proof on a class-wide

  basis”).

               2.    Plaintiffs Lack Admissible Evidence Capable Of Establishing
                     That The VCDs Were “Worth Less.”

        Even if Plaintiffs were permitted to resurrect their “worth less” theory at this

  late stage (and such a theory could survive Rule 23 scrutiny), their claims would not

  survive summary judgment. In order to prove the “worth less” theory, Plaintiffs

  must: (1) present expert testimony from an economist that weighs the purported

  causation evidence of any increased risk against the undisputed therapeutic benefits

  of the VCDs; and (2) “translate[]” that into a precise diminution in value. (See MTD

  Op. 2 at 13, ECF 728; April CMC Tr. 43:7-9.) Plaintiffs have no such evidence.

        At the April Case Management Conference, Plaintiffs suggested that they

  could carry their burden by having their experts opine that there is some risk of

  cancer, and then ask jurors to determine whether (and, if so, to what degree) such a

  risk diminished the value of the VCDs. (See April CMC Tr. 35:22-36:7.) Both Judge

  Kugler and this Court have rejected that position. (See MTD Op. 2 at 13, ECF 728;

  April CMC Tr. 43:12-16.) As a result, even Plaintiffs now agree that, in order to

  pursue claims that VCDs were “worth less” than represented, they must produce new

  expert testimony translating their experts’ assessment of the alleged risks posed by

  NDMA/NDEA in VCDs into an economic value of those VCDs. (See Pls.’ Mot. for

  Leave to Reopen Expert Record at 2, ECF 3053 (“[T]he upshot of its April 7 ruling


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  is that TPP Plaintiffs should have an economic ‘translating mechanism’ to help the

  jury evaluate the economic impact associated with the scientific or general causation

  evidence about NDMA . . . on the value of the VCDs purchased.”).)

        Plaintiffs admittedly do not have this evidence. Plaintiffs have repeatedly

  conceded that they lack the economic translation evidence required to proceed on a

  “worth less” theory, telling the Court: “We don’t have that [evidence] in this case.”

  (April CMC Tr. 40:5-9 (emphasis added) (Plaintiffs’ counsel stating that “[t]he jury

  needs to have somebody translate that, and that gets us into an economic sort of price

  premium model where the question is then put economically to someone to

  determine what impact to value or price or worth it has. We don’t have that in this

  case.”); see id. 41:10-14 (“[Court]: [T]here has to be an economic translation into

  risk and benefits, and I don’t know what that economist looks like, but that’s the

  piece that is missing. [Plaintiffs’ counsel]: Yes. I agree, Your Honor.”).) This is so

  because the only economist Plaintiffs designated was Dr. Conti, whose “overarching

  testimony and opinion [is] that the VCDs are worthless, i.e., have no value, because

  they were adulterated.” (ECF 3018 at 26.)

        This absence of economic translation evidence is fatal to Plaintiffs’ “worth

  less” theory. As other courts have recently held, without “evidence of how much

  [plaintiffs] would have paid had they known the [product] contained [the alleged

  defect] . . . plaintiffs cannot establish they paid more for the [product] than it was


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  actually worth[.]” See Willoughby, 2025 WL 622925, at *6-7. In Willoughby, the

  plaintiffs asserted various common law fraud and consumer protection claims based

  on the purchase of a purportedly defective product, alleging that they had suffered

  damages because “they would not have . . . paid the price they did for, the [product]

  if they knew about the [alleged defect]”—in other words, a “worth less” theory. Id.

  at *6. To support this theory, the plaintiffs’ experts proposed a “conjoint analysis

  that will allow the finder of fact to quantify the price premium paid[.]” Id. The court

  nevertheless granted summary judgment because the plaintiffs’ experts “have not

  conducted such an analysis.” Id.

        Here, none of Plaintiffs’ experts has opined that there is a mechanism to

  determine the value of VCDs in light of the alleged risks, let alone conducted such

  a valuation analysis. And although Plaintiffs are again requesting that the Court

  allow them to re-open discovery (ECF 3053 at 2), the Court should decline to “open

  this all back up again” (April CMC Tr. 48:16-19; see also id. 46:23-47:23) for the

  reasons set forth in the TPP Defs.’ Reopening Opp’n.10

        For this reason, too, the TPP Defendants are entitled to summary judgment.




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        As explained in the TPP Defs.’ Reopening Opp’n (see ECF 3080),
  incorporated herein, Plaintiffs lack good cause to reopen discovery and disclose new
  experts at this late stage of the proceedings—and doing so would substantially
  prejudice Defendants.

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  II.   PLAINTIFFS’ CLAIMS ARE SEPARATELY PREEMPTED.

        The Court should grant summary judgment in favor of the TPP Trial

  Defendants for the additional reason that Plaintiffs are inappropriately pursuing

  fraud-on-the-FDA claims that are impliedly preempted by the Federal Food, Drug,

  and Cosmetic Act (“FDCA”). See Buckman, 531 U.S. 341. Under the FDCA, a drug

  cannot be marketed without FDA approval, 21 U.S.C. § 355(a); the FDA will only

  approve a drug if it finds that the proposed labeling is not “false or misleading in any

  particular,” id.; only the FDA may deem a drug to be “misbranded,” id. § 352(j); and

  the statute’s requirements may only be enforced by the federal government, id. §

  337(a).

        In Buckman, the plaintiffs claimed that the defendants had “made fraudulent

  representations to the FDA as to the intended use of the [medical device] and that,

  as a result, the devices were improperly given market clearance and were

  subsequently used to the plaintiffs’ detriment.” 531 U.S. at 347. The Supreme Court

  rejected these claims, holding that they “inevitably conflict with the FDA’s

  responsibility to police fraud consistently with the Administration’s judgment and

  objectives.” Id. at 350. As the Court explained, the FDA uses its authority “to

  achieve a somewhat delicate balance of statutory objectives [that] can be skewed by

  allowing fraud-on-the-FDA claims under state tort law.” Id. at 348. Thus, plaintiffs’

  “fraud-on-the-agency claims”—which “exist[ed] solely by virtue of the FDCA



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  disclosure requirements” and relied on FDCA requirements as “a critical element”

  of their lawsuit—were preempted. Id. at 353.

        Although Buckman involved state law tort claims alleging that the defendants

  directly misled the FDA or otherwise violated the FDCA, the Supreme Court’s

  holding applies equally to claims that Defendants’ representations to the public were

  false because Defendants misled the FDA or otherwise violated the FDCA. See

  Atkinson v. Luitpold Pharms., Inc., 448 F. Supp. 3d 441, 447-48 (E.D. Pa. 2020)

  (“[S]tate law causes of action that are contingent upon the defendant making

  fraudulent representations to the FDA conflict with federal law and are, accordingly,

  preempted.”). Such indirect fraud-on-the-FDA claims depend on an assertion that a

  defendant violated some requirement of the FDCA and therefore intrude upon the

  police power of the FDA to enforce that federal statute. See, e.g., Scanlon v.

  Medtronic Sofamor Danek USA Inc., 61 F. Supp. 3d 403, 412 (D. Del. 2014) (“While

  [the alleged] conduct . . . might violate the FDCA, such conduct would not exist

  apart from the FDCA.”); Markland v. Insys Therapeutics, 758 F. App’x 777, 779-80

  (11th Cir. 2018) (“As with the Buckman plaintiffs, Markland seeks to enforce a duty

  that exist[s] solely by virtue of the FDCA. . . . That kind of claim is preempted.”)

  (citation omitted); Perez v. Nidek Co., 711 F.3d 1109, 1112, 1119 (9th Cir. 2013)

  (“Perez’s fraud by omission claim exist[s] solely by virtue of the FDCA . . .




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  requirements . . . with respect to approved use of the Laser” and is preempted)

  (citation omitted).

        At the pleading stage, Judge Kugler analogized this case to Wyeth v. Levine,

  555 U.S. 555 (2009), in which the Supreme Court held that the FDCA does not

  preempt state law tort claims against manufacturers of branded medications seeking

  to require additional warnings on product labels. Id. at 568-73. Levine is inapposite

  because it did not address a claim of implied preemption under Buckman based on

  allegations of fraud on the FDA—a fact that the majority expressly highlighted in

  its ruling. See id. at 563, 565 n.3 (“The dissent’s reliance on Buckman . . . is

  especially curious, as that case involved state-law fraud-on-the-agency claims, and

  the Court distinguished state regulation of health and safety as matters to which the

  presumption does apply.”) (citing Buckman, 531 U.S. at 347-48). Rather, Levine

  (which addressed impossibility and obstacle preemption) merely “preserves

  common law state tort claims that parallel or reinforce the agency’s efforts but do

  not involve the relationship between the federal regulator and the regulated entity,

  the dispositive factor for federal preemption in Buckman.” Lofton v. McNeil

  Consumer & Specialty Pharms., 672 F.3d 372, 377 (5th Cir. 2012); see Romero v.

  Wyeth LLC, No. 1:03-cv-1367, 2012 WL 12547105, at *6 (E.D. Tex. May 30, 2012)

  (similar); Gaetano v. Gilead Scis., Inc., 529 F. Supp. 3d 333, 345 n.6 (D.N.J. 2021)




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  (distinguishing between fraud-on-the-FDA claims (Buckman) and claims that

  warnings should have been stronger (Levine)).

        Even at the pleading stage, the crux of Plaintiffs’ case was that “Defendants

  expressly warranted that their products were the same as their [Reference Listed

  Drugs, or] RLDs,” as is required under the FDCA. (TAC ¶ 622.) Plaintiffs alleged

  that this warranty was false because the VCDs purportedly contained

  NDMA/NDEA, rendering them different from the RLDs. (Id.; see also id. ¶ 623

  (alleging that Defendants misrepresented that the VCDs were “compliant with

  cGMP and not contaminated, adulterated or misbranded”).) And in so alleging,

  Plaintiffs expressly and repeatedly claimed that the FDA approved the VCDs “based

  upon [those alleged] representations” under the federal standards. (See, e.g., id. ¶¶

  205-06 (“The drugs ingested by Plaintiffs were approved by the FDA, based upon

  Defendants’ representations that they met the above criteria and were equivalent to

  the [reference listed drug].”); id. ¶ 399 (omissions).)

        The record developed in the years since Judge Kugler’s decision confirms

  beyond dispute that Plaintiffs are attempting to enforce the FDCA. (See, e.g., MSP

  Summary J. Opp’n Br. at 18, ECF 2606 (Plaintiffs claiming that “the representations

  at issue (FDA approval, DMF and ANDA compliance, USP compliance, and AB

  rating in the Orange Book) are required in order to permit the sale of the VCDs at

  every step of the stream of economic transactions at issue”); id. at 22 (“If Defendants


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  had not warranted the VCDs were FDA approved . . . then the sale of the VCDs

  would have been prohibited at each step of the economic transactions at issue.”).)

  The record similarly shows that Plaintiffs are seeking to recover based on

  Defendants’ purported fraud on the FDA. (See, e.g., ECF 2569-3 ¶ 41.5 (Plaintiffs

  claiming to cite evidence that “ZHP did not disclose its knowledge of and about the

  NDMA contamination of its valsartan to the FDA at the time of the July 27, 2017

  email”); ECF 2569-1 at 17 (Plaintiffs claiming that “Teva did not inform the FDA

  about the NDMA contamination within the timeframe mandated by regulation and

  Teva’s own SOP”).)

        In short, Plaintiffs’ lawsuit does not “parallel or reinforce the agency’s

  efforts,” Lofton, 672 F.3d at 377; rather, Plaintiffs’ misrepresentation “claims exist

  solely by virtue of the FDCA disclosure requirements,” and are therefore preempted,

  Buckman, 531 U.S. at 352-53.

                                    CONCLUSION
        For the foregoing reasons, the Court should grant summary judgment in favor

  of Defendants.




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   Dated: June 27, 2025                Respectfully submitted,

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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 27, 2025, a true and correct copy of the

  foregoing document was served upon counsel of record via operation of the Court’s

  electronic filing system.

   Dated: June 27, 2025                    Respectfully submitted,


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